            Case 1:16-cr-00114-ADA-BAM Document 17 Filed 08/12/16 Page 1 of 3


 1   PRECILIANO MARTINEZ
     ATTORNEY AT LAW
 2   State Barth No. 93253
     1120 14 Street, Suite 5
 3   Modesto, CA 95354
     (209)579-2206/ (209)579-2211 Fax
 4

 5   Attorney for Defendant
     Gerardo Anaya-Garcia
 6

 7                               UNITED STATES DISTRICT COURT
 8                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10                                                    )
     UNITED STATES OF AMERICA,                        )   CASE NO. 1:16-CR-00114-DAD-BAM (003)
11              Plaintiff,                            )
12
          vs.                                         )
                                                      )   STIPULATION TO RELEASE ORIGINAL
13   Gerardo Anaya-Garcia                             )   DOCUMENTS
                  Defendant.                          )
14
                                                      )   Date:
15                                                    )   Time:
                                                      )   Honorable Barbara A. McAuliffe
16

17
            IT IS HEREBY STIPULATED by and between Assistant United States Attorney Kevin
18
     Rooney, Counsel for Plaintiff, and Attorney Preciliano Martinez, Counsel for Defendant Gerardo
19

20
     Anaya-Garcia, have agreed to release original documents from the Inventory of Seized or

21   Impounded Property, item 5 blue folder with passports, birth certificates, social security number
22
     cards, and miscellaneous indicia of occupancy.
23
     ////
24
     ////
25

26   ////

27   ////
28
           Case 1:16-cr-00114-ADA-BAM Document 17 Filed 08/12/16 Page 2 of 3


 1          To be released to Gerardo Anaya- Garcia. Copies will be admissible AS THE TRUE and
 2
     original documents in any future proceedings or trial.
 3
                                                              Respectfully Submitted,
 4

 5   Dated: August 12, 2016                                   /s/ Preciliano Martinez
                                                              Preciliano Martinez
 6                                                            Attorney for Defendant
                                                              GERARDO ANAYA-GARCIA
 7

 8   Dated: August 12, 2016                                   /s/ Kevin Rooney
                                                              Assistant U.S. Attorney
 9                                                            Attorney for Plaintiff
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
           Case 1:16-cr-00114-ADA-BAM Document 17 Filed 08/12/16 Page 3 of 3


 1                                              ORDER
 2
            Having read and considered the foregoing stipulation, IT IS THE ORDER of the Court to
 3
     release item 5 blue folder with passports, birth certificates, social security number cards, and
 4

 5   miscellaneous indicia of occupancy. To be released to Gerardo Anaya- Garcia (3).

 6
     IT IS SO ORDERED.
 7

 8      Dated:    August 12, 2016                           /s/ Barbara A. McAuliffe             _
 9                                                   UNITED STATES MAGISTRATE JUDGE

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
